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June 17, 2020

The Honorable Eric C. Tostrud                                                         Via ECF
United States District Court
316 North Robert Street
St. Paul, MN 55101

Re: League of Women Voters of Minnesota Education Fund, et al. v. Steve Simon
    Case No. 0:20-cv-01205

Dear Judge Tostrud:

I write to inform the Court of an Order (attached), approving a Stipulation and Partial
Consent Decree entered in a case entitled Robert LaRose, et al. v. Steve Simon, Case No.
62-cv-20-3149, which was issued earlier today in Minnesota State Court.

Plaintiffs wanted to make the Court aware of this Order in advance of tomorrow’s
fairness hearing.



Very truly yours,

LATHROP GPM LLP

By          s/ Julia Dayton Klein
          Julia Dayton Klein
          Partner

JDK/tll
Enclosure




GP:4832-5083-5648 v1
